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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 IN RE: FCA US LLC MONOSTABLE
 ELECTRONIC GEARSHIFT LITIGATION                             Case Number 16-md-02744
                                                             Honorable David M. Lawson
                MDL No. 2744                                 Magistrate Judge David R. Grand

 _____________________________________/

 SONYA DAWSON,

                Plaintiff,                                   Case Number 17-11082
 v.                                                          Honorable David M. Lawson

 FCA US, LLC,

             Defendant.
 _____________________________________/

        ORDER DISMISSING AS MOOT DEFENDANT’S MOTION TO DISMISS

        On May 30, 2018, the parties submitted a stipulation to dismiss without prejudice all of the

 plaintiff’s claims in Dawson v. FCA US LLC, No. 17-11082, and the Court therefore dismissed that

 underlying matter and all of the plaintiff’s claims in this multidistrict litigation. Because the

 plaintiff’s complaint has been dismissed, the Court also will dismiss as moot the defendant’s

 pending motion to dismiss for insufficient service of process.

        Accordingly, it is ORDERED that the defendant’s motion to dismiss (16-2744, ECF Doc.

 No. 242; 17-11082, ECF Doc. No. 15) is DISMISSED as moot.

                                              s/David M. Lawson
                                              DAVID M. LAWSON
                                              United States District Judge

 Dated: June 7, 2018
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                                            PROOF OF SERVICE

                    The undersigned certifies that a copy of the foregoing order was served
                    upon each attorney or party of record herein by electronic means or first
                    class U.S. mail on June 7, 2018.

                                                      s/Susan Pinkowski
                                                      SUSAN PINKOWSKI




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